    Case 20-20425-GLT                 Doc 293
                                       Filed 05/12/21 Entered 05/12/21 15:21:48 Desc Main
                                      Document      Page 1 of 2 COURT
                         IN THE UNITED STATES BANKRUPTCY                       FILED
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA               5/12/21 3:00 pm
                                                                               CLERK
 In re:                                       :         Case No.: 20-20425-GLTU.S. BANKRUPTCY
                                              :         Chapter:  11           COURT - :'3$
 VideoMining Corporation                                      :
                                                              :
                                                              :              Date:            5/12/2021
                        Debtor(s).                            :              Time:            11:30

                                               PROCEEDING MEMO


MATTER:              # 274 Con't Emergency Motion To (1) Authorize Continued Use of Ca sh Colla teral;
                     (2) Extend Ma turity Da te of the DIP Loa n; a nd (3) Approve Bridge Loan

                     # 284 - Con't Sta tus Conference

                      # 288 Expedited Motion to Approve Pa tent License Agreement
                            [Response due 5/11/21 by 12 p.m.]


APPEARANCES:
                    Debtor:          Rya n Cooney (Christopher Bossi - Fina ncia l Consulta nt; Ra jeev Sharma - CEO)
                    Enterprise:      Thoma s Maxson
                    White Oak:       Jeffrey Rosentha l, George Snyder (Kysha Pierre-Louis - Hea d of Gov't Contracting a nd Finance)
                    Ama zon:         John Elovson

NOTES: (11:38)

Cooney: Re: the Ama zon dea l, this would be a fully pa id up, non-exclusive license. $325,000 pa id within 30 days. The license does
not impa ct the debtor pursuing a sa le of the IP a ssets. After a commission to the patent broker, the esta te would ga in $270,000 and it
would go to Enterprise Bank. Ama zon would be relea sed of a ny infringement cla ims the debtor may ha ve against it.

Court: Were there a ny infringement cla ims?

Elovson: No, but it's typical for the pa th to be clea red.

Cooney: I think re: va lue, this tra nsa ction/a greement wa s firmly recommended by our patent broker. Even if there a re infringement
cla ims, the debtor wouldn't ha ve the ca pa city to pursue them.

Court: Even if there were cla ims, it's not necessa rily problema tic to ha ve them released if the sa le price is commensura te with the
va lue. You're not telling me there a re identified claims?

Cooney: There were no identified claims, a nd we discussed the issue aga in a fter the petition date a nd there were none identified then
either. Pa rt of the sta tus report wa s on the a greement with White Oa k, which wa sn't rea ched until this morning. AGSM formed an
entity to purcha se the assets for $650,000 (a substantia l increase) predica ted on a controlled sa les process a nd a resolution of any
cla ims by White Oa k a ga inst Mr. Sharma. The issue tha t we're concerned with is - because AGSM is a venture ca pita l fund they
would ha ve to do a ca pita l ra ise before closing which would ta ke 90 da ys. AGSM suggests that they ma ke a $100,000 non-refundable
deposit tha t will go into escrow in order to get us to closing. As of this morning we ha ve a n a greement with White Oa k and
Enterprise, subject to a forma lized a greement. We a lso settled the discha rgea bility compla int a ga inst Mr. Sharma in his personal
ba nkruptcy case. From here, we need to figure out ca sh collatera l a nd the extension of the DIP loan ma turity date.

Court: Wha t are we ta lking a bout re: ca sh flow during the period until closing, a nd how much might be needed from the DIP Loa n or
the ba ckstop during this time? The postpetition cla ims a re showing to be $83,162.84.

Cooney: Today is Ma y 12, so the budget doesn't reflect the 12 da ys of Ma y pa yroll. The budget doesn't reflect a ny utiliza tion of the
$100,000, and we're hoping we'll be a ble to get through without ha ving to use a ny of the ba ck stop.

Rosentha l: We're supportive of the pla n at this time, subject to forma lizing the a greement we have in principle.

Ma xson: We a pprove of the broa d strokes. We're ta king a look a t the budget a nd we ha ve some concerns with the a pplication of
pa yments, but we like the direction the debtor is going a nd the increa se in the offer.
Court: I think
    Case       conditiona l a pprovaDoc
             20-20425-GLT             l would be sufficient
                                            293     Filed to05/12/21
                                                               get us throughEntered
                                                                               to the 26th, a nd then the
                                                                                          05/12/21        parties ca n submit
                                                                                                       15:21:48         DescanMain
                                                                                                                               order that
would get us to a closing da te on a pprox. Aug. 11 or 13. I do not wa nt to see a ny erosion in the estate from this point forwa rd. I will
                                                  Document               Page 2 of 2
provide you with a ruling on the record giving you conditional a pprova l for the next two weeks. If you provide a two-week stipulation
I would review it a nd then submit a nother stipula tion tha t ca rries through the closing da te.

Cooney: If your conditiona l a pprova l on the record is sufficient, I think it ma kes sense for us to focus on the long-term stipulation as
opposed to one covering the next two weeks.

Corut: Would tha t be sa tisfa ctory for everyone?

Everyone: Yes.

Court: The debtor's use of ca sh colla teral is a pproved through Ma y 26 along with a n extension of the DIP loa n ma turity date to May
26.

OUTCOME:

1. Debtor's Emergency Motion To (1) Authorize Continued Use of Cash Collateral; (2) Extend Maturity Date of the DIP Loan; and (3)
Approve Bridge Loan [Dkt. No. 274] is further GRANTED as provided herein. For the rea sons sta ted on the record, the debtor is
a uthorized to use cash colla tera l through May 26, 2021, in a ccorda nce with the budget submitted during the Ma y 12, 2021 hearing at
Dkt. No. 292. Further, the ma turity da te for the DIP loa n is extended through Ma y 26, 2021. On or before Ma y 25, 2021 a t 4 p.m., t he
pa rties a re to submit a proposed form of order under a Certifica tion of Counsel tha t a ddresses the use of cash collateral and an
extension of the DIP loa n, together with other terms a nd conditions, for the Debtor's continued opera tion through a projected closing
da te of August 13, 2021 for the sa le of the Debtor's rema ining a ssets. A continued sta tus conference on the Cash Collateral Motion will
be held on Ma y 26, 2021 a t 1:30 p.m., only to the extent necessa ry. [Text Order to Issue]

2. Court's Continued Status Conference [Dkt. No. 284] is CONCLUDED [Text Order to Issue]

3. Debtor's Expedited Motion to Approve Patent License Agreement [Dkt. No. 288] is GRANTED [HT to Issue Proposed Order a t Dkt.
No. 288-3]

DATED: 5/12/2021
